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PHILADELPHIA

INSURANCE COMPANIES

A Member of the Tokio Marine Group

One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
610.617.7900 * Fax 610.617.7940 * PHLY.com

May 7", 2012

To Whom It May Concern:

Philadelphia Indemnity Insurance Company policy (#PHSD319209), effective April 23", 2008 to April 23”,
2009, was issued to LSI Lowery Systems, Inc. dba LSI Teamcen; The Intergrated Business
Solutions Group of Fenton, MO.

|, Howard Goldstein, do hereby certify that this is a true and correct copy of the above captioned policy.

BZA.

Howard E. Goldstein
Assistant Vice President, Specialty Lines

SWORN AND SUBSCRIBED to before me pn}this Seventh day of May, 2012:

Notarye ic)
Linda M. Wentzel, Notary Public
Lower Merion Twp., Montgomery County
My Commission Expires Nov. 7, 2013 |
Maniber, Pernsyivenit Association of Notaries

(My commission expires)

Philadelphia Consolidated Holding Corp. ° Philadelphia Indemnity Insurance Company * Philadelphia Insurance Company ¢ Maguire Insurance Agency, Inc.
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Bell Endorsement

$25,000 Identity Theft Expense coverage which reimburses
the expenses of any director or officer who becomes a victim of
an incident of identity theft.

$25,000 Terrorism Travel Reimbursement which covers any
director or officer for emergency travel expenses that he or she
incurs in the event of a “certified act of terrorism’.

$25,000 Emergency Real Estate Consulting Fee coverage for
realtor’s fee or real estate consultant's fee necessitated by the
Insured’s need to relocate due to the “Unforeseeable
destruction” of the Insured’s principal location.

$25,000 Temporary Meeting Space Reimbursement
coverage for rental of meeting space which is necessitated by
the temporary unavailability of the Insured’s primary office
space due to the failure of a climate control system, or leakage
of a hot water heater.

$25,000 Workplace Violence Counseling in the event that
a violent incident occurs at any of the Insured’s premises.

Crisis Management

$50,000 Kidnap Expense coverage for reasonable fees
incurred as a result of the kidnapping of a Director or Officer
or their spouse, “domestic partner’, parent or child.

$50,000 Key Individual Replacement Expenses coverage for
the Chief Executive Officer or Executive Director who suffers an
‘injury’ which results in the loss of life. No deductible applies
to this coverage.

$25,000 Image Restoration and Counseling coverage
for image restoration and counseling arising out of
“tmproper Acts.”

$25,000 Donation Assurance - coverage for “Failed Donation
Claim(s).”

$25,000 Business Travel - coverage for Business
Travel Accidental Death Benefit to the Named Insured if a
Director or Officer suffers an “injury” while traveling on a
common carrier for business.

$25,000 Crisis Management - coverage for “crisis management
emergency response expenses” incurred because of an

“incident giving rise to a “crisis.”

The Enhanced Bell and Crisis Management Endorsements will be effective February 2008 for all approved states.

EW) PHILADELPHIA

INSURANCE COMPANIES
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7. Loss Control Notice

bee seal

Welcome to PIC Loss Control Services. PIC is familiar with the unique loss control programming
needs of your organization and has achieved superior results in this area. We are committed to
delivering quality and timely loss prevention services and risk control products to your
organization. Customer satisfaction through the delivery of these quality professional products to
achieve measurable risk improvement results is our goal. We know the fulfillment of the loss
control commitment is not complete until we deliver upon our promises.

Our product specific service capabilities follow on the next few pages. They include a multi-
faceted approach to risk management covering safety program development, site audits, and
training (including a new interactive web-based training). We offer a wide range of products and
value-added services at no cost to help you achieve your risk management goals.

Please take a moment to register for our website @ www./osscontrol.com to gain full access to
these resources. Please assign yourself your own username and password. Your registration
request will be processed within two business days.

We look forward to helping to make your insurance program a success. We are standing by if you
have any questions or if we may be of further assistance. Please contact us at:

Jeffrey M. Collins, AVP & Director
Loss Control Department
Phone: 610-617-7717

E-Mail: jcollins@phiyins.com

Mark A. Konchan, Manager
Loss Control Department
Phone: 610-538-2967
E-Mail: mkonchan@phlyins.com

One Bala Plaza — Suite 100 - Bala Cynwyd, PA 19004 — (800)873-4552 — Fax#t (610)617-7940
Case: 4:12-cv-01005-CDP Doc. #: 1-2 Filed: 06/06/12 Page: 4 of 41 PagelD #: 79

Loss Control Servi

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Philadelphia Insurance Companies (PIC)
PHLY Loss Control Services
About Loss Control Services

e Our Motto
e Our Mission

Risk Management Resources

e IntelliCorp Records, Inc. (Employment Background Screening and
MVR Checks)

e Nonprofit Risk Management Center

e WEMED Loss Assistance Hotline

e AGOSNET: web-enabled EPLI (Employment Practices Liability
Insurance) Risk Management Services

Proprietary Risk Management Services
e Monthly E-Brochures

Contact Information
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pd, |

-/_S Philadelphia Indemnity Insurance Company

(A Stock Company founded in 1927)
One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
1-800-759-4961

Commercial
Lines
Policy

THIS POLICY CONSISTS OF:

DECLARATIONS

COMMON POLICY CONDITIONS

ONE OR MORE COVERAGE PARTS. A COVERAGE PART CONSISTS OF:
ONE OR MORE COVERAGE FORMS

APPLICABLE FORMS AND ENDORSEMENTS

BJP-190-1 (12-98)
Case: 4:12-cv-01005-CDP Doc. #: 1-2 Filed: 06/06/12 Page: 6 of 41 PagelD #: 81

IN WITNESS WHEREOF, we have caused this policy to be executed and attested, and, if required by state
law, this policy shall not be valid unless countersigned by our authorized representative.

President Secretary

BJP-190-1 (12-98)
Case: 4:12-cv-01005-CDP Doc. #: 1-2 Filed: 06/06/12 Page: 7 of 41 PagelD #: 82

POLICYHOLDER NOTICE (LOSS ASSISTANCE HOTLINE)

We are pleased to enclose an original copy of your policy. Please take a
moment to review the policy to ensure it meets your needs.

Please feel free to contact our local sales representatives or our customer
service unit at 877-GET-PHLY, if you need further assistance.

As a free loss control benefit to our policyholders, Philadelphia Insurance
Companies (PIC) has partnered with a nationally recognized law firm Wilson,
Elser, Moskowitz, Edelman and Dicker LLP (WEMED), to offer a toll-free Loss
Assistance Hotline. The toll-free loss assistance hotline telephone number is 1-
877-742-2201. You can also contact a WEMED attorney online at either of the
following internet addresses: http:/Awww.wemed.com/pic/ or
<http://www.losscontrol.com> . This hotline provides policyholders 2 free
hours of legal consultation with a knowledgeable attorney on any matter that
could potentially result in a claim under your PIC policy. This loss assistance
hotline is NOT a loss reporting hotline. To report a claim, read the claim
reporting instructions in your Policy, or ask your agent. If you have questions
concerning the loss assistance hotline, please contact us at 1-800-759-4961
x7717.

The Philadelphia Insurance Companies thanks you for choosing us to meet your
insurance needs.

Sincerely,

Philadelphia Insurance Companies
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Philadelphia Indemnity Insurance Company
One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004

COMMON POLICY DECLARATIONS

Policy Number: PHSD319209

Named Insured and Mailing Address: Producer: 5167

LSI Lowery Systems, Inc. dba LSI Teamcen GALLAHER-TANGORA-RODES INSURANCE
The Intergrated Business Solutions Group P.O. BOX 798

1329 Horan Dr MEXICO, MO, 65265

Fenton, MO 63026-1939

Policy Period From: 04/23/2008 To: 04/23/2009 at 12:01 A.M. Standard Time at your mailing

address shown above.

Business Description: Computer Bureaus/Consultants

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

PREMIUM
Commercial Property Coverage Part

Commercial General Liability Coverage Part
Commercial Crime Coverage Part
Commercial Inland Marine Coverage Part
Commercial Auto Coverage Part
Businessowners

Workers Compensation

Miscellaneous Professional 6,119.00

Total $ 6,119.00

FORM (S) AND ENDORSEMENT (S) MADE A PART OF THIS POLICY AT THE TIME OF ISSUE
Refer To Forms Schedule

*Omits applicable Forms and Endorsements if shown in specific Coverage Part/Coverage Form Declarations

— é

CPD- PIIC (01/07) C (7? cf Cc’
Countersignature Date Authorized Representative

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Philadelphia Indemnity Insurance Company

Form Schedule — Policy

Policy Number: PHSD319209

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:

Form Edition Description

BJP-190-1 1298 Commercial Lines Policy Jacket

LAH-Notice 1002 ~=Policyholder Notice (Loss Assistance Hotline)
CPD-PIIC 0107 Common Policy Declarations

PP 0701 0701 ~=~Privacy Policy Notice

ILO0990 0108 Missouri-Disclosure Pursuant to Terrorism Risk Ins Act

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PI-PLSP-001 (08/07)

Philadelphia Insurance Companies

One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
610.617.7900 Fax: 610.617.7940

Cover-Pro™

& Philadelphia Indemnity Insurance Company 0) Philadelphia Insurance Company

DECLARATIONS
Policy Number: PHSD319209

NOTICE: THIS IS A CLAIMS MADE POLICY. PLEASE READ THIS POLICY CAREFULLY. THE
LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS SHALL BE REDUCED
BY AMOUNTS INCURRED FOR INVESTIGATION AND LEGAL COSTS. FURTHER NOTE THAT
AMOUNTS INCURRED FOR SUCH COST SHALL BE APPLIED AGAINST THE DEDUCTIBLE
AMOUNT

Item 1. Named Entity and Address:

LSI Lowery Systems, Inc. dba LSI Teamcen
The Intergrated Business Solutions Group
1329 Horan Dr

Fenton, MO 63026-1939

ltem 2. Policy Period: From: 04/23/2008 To: 04/23/2009
(12:01 A.M. Standard Time)
ltem 3. Premium: $ 6,119.00
Item 4. Limits of Liability: (A)$ 1,000,000 Each Claim, including Claim Expense

(B)$ 1,000,000 Annual Aggregate, including Claim Expense

Item 5. Deductible: $ 7,500 Deductible per Claim

Item 6. Retroactive Date: 04/23/1999

Item = 7. Continuity Date: 04/23/2007

Item = 88. Additional Premium for Supplemental Extended Reporting Period: $

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PI-PLSP-001 (08/07)

Item = 9. Named Entity’s Profession:
Computer Bureaus/Consultants

Endorsements:

By accepting this Policy, the Insured agrees that the statements in the application are personal
representations, that they shall be deemed material, and that this Policy is issued in reliance upon the
truth of such representations.

Authorized Representative Countersignature Countersignature Date

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Philadelphia Indemnity Insurance Company

Form Schedule — Miscellaneous Professional Liability

Policy Number: PHSD319209

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:

Form Edition Description

Bell Endt and Crisis Mgmt 0208 Bell Endorsement and Crisis Management
PI-PLSP-001 0807 Cover Pro Policy Declarations Page

PI-BELL-1 MO 0907 _— Bell Endorsement

PI-CME-1 0807 Crisis Management Enhancement Endorsement
PI-PLSP-002 0807 Cover Pro

PI-PLSP-010 0807 #Nuclear Energy Liability Exclusion
PI-PLSP-102 0807 ~=Bankruptcy/Insolvency Exclusion

PI-PLSP-145 0807 Computer/Technology Consultant Pro-Pak Elite
PI-PLSP-176 0807 = Additional Premium For Supplemental ERP
PI-ARB-1 MO 0305 Binding Arbitration

PI-DEF-NOTICE-MO 0401 Defense Within Limits

PI-Notice-MO 0401 Important Notice

PI-PLSP-MO-1 0807 #Missouri Amendatory Endorsement

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PP-0701 07-01
PHILADELPHIA INSURANCE COMPANIES

PRIVACY POLICY NOTICE

Philadelphia Insurance Company & Philadelphia Indemnity Insurance Company

The Philadelphia Insurance Companies values your privacy and we are committed to protecting
personal information that we collect during the course of our business relationship.

The collection, use and disclosure of certain nonpublic personal information are regulated by law.

This notice is for your information only and requires no action on your part. It will inform you about
the types of information we collect and how it may be disclosed. This does not reflect a change in
the way we do business or handle your information.

Information We Collect:

We collect personal information about you from the following sources:

e Applications or other forms such as claims forms or underwriting questionnaires completed
by you;
Information about your transactions with us, our affiliates or others; and
Depending on the type of transaction you are conducting with us, information may be
collected from consumer reporting agencies, health care providers, employers and other third
parties.

Information We Disclose:

We will only disclose the information described above, as permitted by law, to our affiliates and
non-affiliated third parties when necessary to conduct our normal business activities.

For example, we may make disclosures to the following types of third parties:

e Your agent or broker;

e Parties who perform a business, professional or insurance function for our company,
including our reinsurance companies;

e Independent claims adjusters, investigators, other insurers, medical care institutions and
attorneys who need the information to investigate, defend or settle a claim involving you;

e Insurance regulatory agencies in connection with the regulation of our business; and

e Lienholders, mortgagees, lessors or other persons shown on our records as having legal or
beneficial interest in your policy.

We do not sell your information to others for marketing purposes.
We do not disclose the personal information of persons who have ceased to be our customers.

Protection of Information:

The Philadelphia Insurance Companies maintains physical, electronic and procedural safeguards
that comply with state and federal regulations to protect the confidentiality of your personal
information. We also limit employee access to personally identifiable information to those with a
business reason for knowing such information.

How to Contact Us:

Feel free to call or write to us for additional information.

Philadelphia Insurance Companies

One Bala Plaza, Suite 100

Bala Cynwyd, Pennsylvania 19004
(877)-438-7459

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POLICY NUMBER: PHSD319209
IL 09 90 01 08

MISSOURI — DISCLOSURE PURSUANT TO TERRORISM
RISK INSURANCE ACT

SCHEDULE

Terrorism Premium (Certified Acts) $ 0

This premium is the total Certified Acts premium attributable to the following Coverage Part(s), Cover-
age Form(s) and/or Policy(s):

Additional information, if any, concerning the terrorism premium:

NOTE: The premium above is for certain losses resulting from certified acts of terrorism as covered
pursuant to coverage provisions, limitations and exclusions in this policy. You should read the defini-
tion in your policy carefully, but generally speaking, "certified" acts of terrorism are acts that exceed $5
million in aggregate losses to the insurance industry and which are subsequently declared by the U.S.
Secretary of the Treasury as a certified terrorist act under the Terrorism Risk Insurance Act. Some
losses resulting from certified acts of terrorism are not covered. Read your policy and endorsements
carefully.

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure Of Premium B. Disclosure Of Federal Participation In Payment

In accordance with the federal Terrorism Risk In- Of Terrorism Losses

IL 09 90 01 08

surance Act, we are required to provide you with a
notice disclosing the portion of your premium, if
any, attributable to coverage for terrorist acts certi-
fied under the Terrorism Risk Insurance Act. The
portion of your premium attributable to such cov-
erage is shown in the Schedule of this endorse-
ment or in the policy Declarations.

© ISO Properties, Inc., 2007

The United States Government, Department of the
Treasury, will pay a share of terrorism losses in-
sured under the federal program. The federal
share equals 85% of that portion of the amount of
such insured losses that exceeds the applicable
insurer retention. However, if aggregate insured
losses attributable to terrorist acts certified under
the Terrorism Risk Insurance Act exceed $100 bil-
lion in a Program Year (January 1 through De-
cember 31), the Treasury shall not make any
payment for any portion of the amount of such
losses that exceeds $100 billion.

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C. Cap On Insurer Participation In Payment Of
Terrorism Losses

If aggregate insured losses attributable to terrorist
acts certified under the Terrorism Risk Insurance
Act exceed $100 billion in a Program Year (Janu-
ary 1 through December 31) and we have met our
insurer deductible under the Terrorism Risk Insur-
ance Act, we shall not be liable for the payment of
any portion of the amount of such losses that ex-
ceeds $100 billion, and in such case insured
losses up to that amount are subject to pro rata al-
location in accordance with procedures estab-
lished by the Secretary of the Treasury.

Page 2 of 2 © ISO Properties, Inc., 2007 IL 09 90 01 08 O
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PI-BELL-1 MO (09/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

BELL ENDORSEMENT

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Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in this
endorsement are solely applicable to coverage afforded by this endorsement, and the policy is amended
as follows:

l. SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

The following is a summary of Limits of Insurance or Liability and/or additional coverages provided by
this endorsement. This endorsement is subject to the provisions of the policy to which it is attached.

Identity Theft Expense $25,000
Terrorism Travel Reimbursement $25,000
Emergency Real Estate Consulting Fee $25,000
Temporary Meeting Space Reimbursement $25,000
Workplace Violence Counseling $25,000
Kidnap Expense $50,000
Image Restoration and Counseling $25,000
Donation Assurance $25,000
Il. CONDITIONS

A. Applicability of Coverage

Coverage provided by your policy and any endorsements attached thereto is amended by this
endorsement where applicable.

B. Limits of Liability or Limits of Insurance

1. When coverage is provided by this endorsement and another coverage form or endorsement
attached to this policy, the greater limit of Limits of Liability or Limits of Insurance will apply. In
no instance will multiple limits apply to coverages which may be duplicated within this policy.
Additionally, If this policy and any other coverage part or policy issued to you by us, or any
company affiliated with us, apply to the same occurrence, offense, wrongful act, accident or
loss, the maximum Limits of Liability or Limit of Insurance under all such coverage parts or
policies combined shall not exceed the highest applicable Limits of Liability or Limit of
Insurance under any one coverage part or policy.

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PI-BELL-1 MO (09/07)

2. Limits of Liability or Limits of Insurance identified in Clause |. above are not excess of, but are
in addition to the applicable Limits of Insurance stated in the Declarations.

C. Claim Expenses

Coverages provided herein are not applicable to the generation of claim adjustment costs by you;
such as fees you may incur by retaining a public adjuster or appraiser.

Ill. ADDITIONAL COVERAGES
A. Identity Theft Expense

We will reimburse any present Director or Officer of the Named Insured, for “Identity Theft
Expenses” incurred as the direct result of any “Identity Theft’ first discovered and reported
during the policy period; provided that it began to occur subsequent to the effective date of
the Insured’s first policy with the Company. The limit for this coverage will be $25,000 per
policy period for all Insureds combined. No deductible applies to this coverage.

B. Terrorism Travel Reimbursement

The Company will reimburse any present Director or Officer of the Named Insured in the event of
a “Certified Act of Terrorism” during the policy period which necessitates that he/she incurs
“Emergency Travel Expenses.” The limit for this coverage will be $25,000 per policy period for all
Insureds combined. No deductible applies to this coverage.

C. Emergency Real Estate Consulting Fee

The Company will reimburse the Insured any realtor’s fee or real estate consultant's fee
necessitated by the Insured’s need to relocate due to the “Unforeseeable destruction” of the
Insured’s principal location listed on the Declarations page during the policy period. The limit for
this coverage will be $25,000 per policy period for all Imsureds combined. No deductible applies to
this coverage.

D. Temporary Meeting Space Reimbursement

The Company will reimburse the Insured for rental of meeting space which is necessitated by the
temporary unavailability of the Insured’s primary office space due to the failure of a climate
control system, or leakage of a hot water heater during the policy period. Coverage will exist only
for the renting of temporary meeting space required for meeting with parties who are not insured
under this policy. The limit for this coverage will be $25,000 per policy period for all Insureds
combined. No deductible applies to this coverage.

E. Workplace Violence Counseling

In the event that an incidence of “workplace violence” occurs at any of the Insured’s premises
during the policy period, the Company will reimburse the Insured for expenses incurred for the
emotional counseling of employees of the Insured, during the policy period. The limit for this
coverage will be $25,000 per policy period for all Insureds combined. No deductible applies to this
coverage.

F. Kidnap Expense
The Company will pay on behalf of any Officer or Director of the Insured, reasonable fees

incurred as a result of the kidnapping of them or their spouse, “domestic partner”, parent or child
during the policy period, subject to a limit of $50,000 each policy period, but not subject to any

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PI-BELL-1 MO (09/07)

deductible. Coverage will not apply to any kidnapping by or at the direction of any present or
former family member of the victim.

Reasonable fees will include:

1.

fees and expenses of an independent negotiator or consultant retained with prior approval of
the Company;

interest on any loan taken by the Named Insured to pay Damages covered under this policy;
provided, however, that the Company shall not be liable for any interest accruing prior to
thirty (30) days preceding the date of such payment, nor subsequent to the date of
reimbursement from the Company for any portion of damages recoverable under this policy;

costs of travel and accommodations incurred by the Named Insured which become
necessary due to the applicable kidnapping;

the reward paid by the Named Insured, which is pre-approved by the Company, to an
informant for information not otherwise available which leads to the arrest and conviction of
persons responsible for any damages under this Policy; and

current salary to an Officer or Director of the Insured who is kidnapped; provided, however,
that the employee shall be held for more than thirty (30) days. Salary shall be paid for a
period commencing upon abduction and ceasing upon the earliest of either the release of the
employee or discovery of the death of the employee, or 120 days after the Company receives
the last credible evidence that the employee is still alive, or twelve (12) months after the date
of kidnapping, or the exhaustion of the kidnap expense limit, whichever comes first.

G. Image Restoration and Counseling

H.

The Company shall reimburse to the Insured expenses incurred for image restoration and
counseling arising out of “Improper Acts” by any natural person Insured up to a limit of $25,000
per policy period for all Insureds combined. Covered expenses are limited to:

1.

the costs of rehabilitation and counseling for the accused natural person Insured provided
the natural person Insured is not ultimately found guilty of criminal conduct, said
reimbursement to occur after acquittal of the natural person Insured;

the costs, charged by a recruiter or expended on advertising, of replacing an Officer as a
result of “Improper Acts”; and

the costs of restoring the Named Insured’s reputation and consumer confidence through
image consulting.

No deductible applies to this coverage.

Donation Assurance

The Company shall reimburse the insured for “Failed Donation Claim(s)”. The limit for this
coverage will be $25,000 per policy period for all Insureds combined. No deductible applies to
this coverage.

With respect to any “Failed Donation Claim’, it is further agreed as follows:

4.

the donor must never have been in bankruptcy, nor have filed for bankruptcy/reorganization
prior to the time said pledge was made to the Insured;

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PI-BELL-1 MO (09/07)

2. for non-cash donations, payment by the Insurer of a “Failed Donation Claim” shall be based
on the fair market value of said non-cash donation at the time of the “Failed Donation
Claim;”

3. inthe case of unemployment/incapacitation of a natural person donor and as a condition of
payment of the “Failed Donation Claim;”

(a) neither the natural person donor nor the Insured shall have had reason to believe the
donor would become unemployed or incapacitated subsequent to the donation date and;

(b) the donor shall be unemployed for at least 60 days prior to the Insurer making payment;

4. no coverage shall be afforded for a written pledge of funds or other measurable tangible
property to the Insured dated prior to the policy period;

5. _adonation amount which is to be collected by the insured over more than a 12 month period
shall be deemed a single donation.

IV. Definitions

A.

“Certified Act of Terrorism", whenever used in this endorsement will mean any act so defined
under the Terrorism Risk Insurance Act of 2002.

“Domestic Partner’, whenever used in this endorsement means any person who qualifies as a
domestic partner under the provisions of any federal, state or local statute or regulation, or under
the terms and provisions of any employee benefit or other program established by the Named
Insured.

“Emergency Travel Expenses”, whenever used in this endorsement will mean:

1. hotel expenses incurred which directly result from the cancellation of a scheduled transport,
by train or air, by a commercial transportation carrier resulting directly from and within forty-
eight hours of a “Certified Act of Terrorism;” and

2. the increased amount incurred in air or train fare which may result from re-scheduling
comparable transport, to replace a similarly scheduled transport canceled by a commercial
transportation carrier in direct response to a “Certified Act of Terrorism.”

“Failed Donation Claim’, whenever used in this endorsement will mean written notice to the
Insured during the Policy Period of:

1. the bankruptcy or reorganization of any donor whereby such bankruptcy or reorganization
prevents the donor from honoring a prior written pledge of funds or other measurable
tangible property to the Insured;

2. the unemployment or incapacitation of a natural person donor preventing him/her from
honoring a prior written pledge of funds or other measurable tangible property to the
Insured.

“Identity Theft “", whenever used in this endorsement means the act of knowingly transferring or
using, without lawful authority, a means of identification of any Officer or Director (or spouse
thereof) of the Named Insured with the intent to commit, or to aid or abet another to commit, any
unlawful activity that constitutes a violation of federal law or a felony under any applicable state or
local law.

“Identity Theft Expenses”, whenever used in this endorsement means:

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1. costs for notarizing affidavits or similar documents attesting to fraud required by financial
institutions or similar credit grantors or credit agencies;

2. costs for certified mail to law enforcement agencies, credit agencies, financial institutions
or similar credit grantors;

3. loan application fees for re-applying for a loan or loans when the original application is
rejected solely because the lender received incorrect credit information.

G. “Improper Acts”, whenever used in this endorsement means any actual or alleged act of:
1. sexual abuse;
2. sexual intimacy;
3. sexual molestation; and/or
4. sexual assault;
committed by an Insured against any natural person who is not an Insured. Such

“Improper Acts” must have been committed by the Insured while in his or her capacity as an
insured.

H. “Injury”, whenever used in this endorsement means any physical damage to the body caused by
violence, fracture or an accident that results in physical damage or hurt.

|. “Unforeseeable Destruction’, whenever used in this endorsement means damage resulting from a
“Certified Act of Terrorism’, fire, crash or collapse which renders all of the Insured’s primary office
completely unusable.

J. “Workplace violence”, whenever used in this endorsement means any intentional use of or threat
to use deadly force by any natural person, with intent to cause harm and that results in bodily
“injury” or death of a member of the Insured or any other natural person while on the Insured’s
premises.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CRISIS MANAGEMENT ENHANCEMENT ENDORSEMENT

Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth
in this endorsement are solely applicable to coverage afforded by this endorsement, and the
policy is amended as follows:

Solely for the purpose of this endorsement: 1) The words “you” and “your” refer to the Named Insured
shown in the Declarations, and any other person or organization qualifying as a Named Insured under
this policy. 2) The words “we”, “us” and “our” refers to the company providing this insurance .

|. SCHEDULE OF ADDITIONAL COVERAGE AND LIMITS

The following is the Limit of Liability provided by this endorsement. This endorsement is
subject to the provisions of the policy to which it is attached.

Crisis Management Expense $25,000

ll. CONDITIONS
A. Applicability of Coverage

Coverage provided by your policy and any endorsements attached thereto is amended
by this endorsement where applicable. All other terms and conditions of the policy or
coverage part to which this endorsement is attached remain unchanged.

B. Limits of Liability or Limits of Insurance

When coverage is provided by this endorsement and any other coverage form or
endorsement attached to this policy, we will pay only for the amount of covered loss or
damage in excess of the amount due from that other insurance, whether you can collect
on it or not. But we will not pay more than the applicable Limit of Liability or Limit of
Insurance.

C. Claim Expenses

Coverages provided herein are not applicable to the generation of claim adjustment
costs by you; such as fees you may incur by retaining a public adjuster or appraiser.

Ill. ADDITIONAL COVERAGES

A. Wewill reimburse you for “crisis management emergency response expenses” incurred
because of an “incident” giving rise to a “crisis” to which this insurance applies. The
amount of such reimbursement is limited as described in Section II, B—Limits of Liability
or Limits of Insurance. No other obligation or liability to pay sums or perform acts or
services is covered.

B. We will reimburse only those “crisis management emergency response expenses” which
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are incurred during the policy period as shown in the Declarations of the policy to which
this coverage is attached and reported to us within six months of the date the “crisis”
was initiated.

IV. Definitions

A.

“Crisis” means the public announcement that an “incident” occurred on your
premises or at an event sponsored by you.

“Crisis management emergency response expenses” mean those expenses incurred
for services provided by a “crisis management firm”. However, “crisis management
emergency response expenses” shall not include compensation, fees, benefits,
overhead, charges or expenses of any insured or any of your employees, nor shall
“crisis management emergency response expenses” include any expenses that are
payable on your behalf or reimbursable to you under any other valid and collectible
insurance.

“Crisis management firm” means any service provider you hire that is acceptable to
us. Our consent will not be unreasonably withheld.

“Incident” means an accident or other event resulting in death or serious bodily injury
to three or more persons. “Incident” shall also mean the accidental discharge of
pollutants.

“Serious bodily injury” means any injury to a person that creates a substantial risk of

death, serious permanent disfigurement, or protracted loss or impairment of the
function of any bodily member or organ.

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Cover-Pro*™

PROFESSIONAL LIABILITY INSURANCE POLICY

THIS IS A CLAIMS MADE POLICY - PLEASE READ IT CAREFULLY

In consideration of the payment of the premium and in reliance upon all statements and information furnished
to us including all statements made in the application form, its attachments and the material incorporated
therein, which are incorporated herein and deemed to be a part of this policy, we agree as follows:

l. INSURING AGREEMENTS
A. Professional Liability Coverage

We shall pay on your behalf all sums, not exceeding the Limits of Liability and in excess of the
applicable Deductible set forth in the Declarations, for which you shall become legally obligated to pay
as damages resulting from any claim first made against you during the policy period or any
subsequent extended reporting period arising out of a wrongful act committed after the retroactive
date stated in Item 6. of the Declarations and prior to the end of the policy period.

B. Defense And Settlement

We, in your name and on your behalf, shall have the right and duty to investigate, defend, and conduct
settlement negotiations, including selection of defense counsel, in any claim or suit.

We shall not settle any claim without your consent, such consent not to be unreasonably withheld.
Should you refuse to consent to any settlement recommended by us, and acceptable to the claimant,
and elect to further contest the claim, our liability for such claim shall not exceed the amount for which
the claim could have been settled, including claim expenses incurred, up to the date of such refusal,
plus 50% of covéred damages and claim expenses in excess of such settlement amount, it being a
condition of this insurance that the remaining 50% of such damages and claim expenses excess of the
first settlement amount shall be borne by you at your own risk and be uninsured. Notwithstanding the
foregoing, this paragraph shall not apply until the settlement amount exceeds the Deductible amount
stated in Item 5. of the Declarations.

You shalt not admit liability for, or make any voluntary settlement, or incur any costs or expenses in
connection with any claim except with our written consent.

We shall not be obligated to pay any claim or judgment or claim expenses or to defend any suit after
the applicable Limits of Liability have been exhausted.

C. Supplemental Payments
We will pay up to two hundred and fifty dollars ($250) per individual insured per day for each day any
such individual insured is required to appear at a trial, hearing or arbitration proceeding involving a
claim against such insured, subject to a five thousand dollar ($5,000) sublimit of liability ("Trial Sublimit
of Liability”). The Trial Sublimit of Liability shall be in addition to the Limits of Liability as shown in Item
4. of the Declarations.

Hl. DEFINITIONS

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THE FOLLOWING WORDS AND PHRASES APPEARING IN BOLD HAVE SPECIAL MEANING
WHENEVER USED IN THIS POLICY:

A. Bodily injury means physical injury, sickness, disease, disability, mental anguish, mental injury or
emotional distress sustained by a person, including death resulting therefrom at any time.

B. Claim means a demand received by you for money or services, including the service of suit or
institution of arbitration proceedings involving you arising from any alleged wrongful act. Claim
shall also include any request to toll the statute of limitations relating to a potential claim involving
an alleged wrongful act.

C. Claim expenses means fees charged by any lawyer designated by us and all other fees, costs,
and expenses resulting from the investigation, adjustment, defense, and appeal of a claim, if
incurred by us. Claim expenses shall also include:

1. Premiums on bonds to release attachments and appeal bonds, limited to that portion of such
bonds that does not exceed the Limits of Liability of this policy, but without any obligation by us
to apply for or furnish such bonds;

2. Costs taxed against you in any suit except for any contempt citations;

3. Interest accruing after the entry of judgment, but only for that portion of the judgment which
does not exceed the applicable Limits of Liability, and only until we have tendered to the court
or paid to you our portion of such judgment as does not exceed our Limit of Liability thereon;
and

4. Reasonable expenses incurred by you at our request in assisting in the investigation and
defense of any claim, other than loss of earnings.

Claim expenses shall not include:

a. any amounts incurred in defense of any claim for which any other insurer has a duty to
defend, regardless of whether or not such other insurer undertakes such duty; or

b. salaries, wages, overhead or benefit expenses associated with any insured except as
specified in Section I. INSURING AGREEMENTS, Paragraph C. above; or

c. salaries, wages, overhead or benefit expenses associated with your employees.

D. Continuity Date means the date listed in Item 7. of the Declarations.

E. Damages means a monetary judgment, award or settlement, including punitive damages or
exemplary damages where insurable by law, but does not include the multiple part of multiplied
damages, fines, taxes, sanctions or statutory penalties, including those based upon legal fees whether
imposed by law, court or otherwise.

F. Domestic partner means any person who qualifies as a domestic partner under the provisions of

any federal, state or local statute or regulation, or under the terms and provisions of any employee
benefit or other program established by you.

G. Individual Insured means:

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4. Any current partner, director, officer, member or employee of yours while acting within the scope of
their duties as such.

2. Any former or retired partner, director, officer, member or employee of yours, but only for those
professional services rendered on behalf of the named entity prior to the date of separation or
retirement from such entity(ies).

3. The lawful spouse or domestic partner of an individual insured, but only for actual or alleged
wrongful acts of such individual insured for which said spouse or domestic partner may be
liable as the spouse or domestic partner of such individual insured.

4. The heirs, executors, administrators, assignees, and legal representatives of each insured in the
event of such insured’s death, incapacity or bankruptcy as respects the liability of each insured
as is otherwise covered herein.

H. Named Entity means the proprietor, firm or organization specified in Item 1. of the Declarations.

Personal Injury means wrongful entry or eviction or other invasion of private occupancy, the
publication or utterance of a libel or slander or other defamatory or disparaging material, or a
publication or an utterance in violation of an individual's right of privacy.

J. Policy Period means the period from the inception date of this policy to the expiration date as set
forth in Item 2. of the Declarations or such earlier termination date, if any.

K. Professional Services means services rendered to others for a fee solely in the conduct of your
profession as stated in Item 9. of the Declarations.

L. Property Damage means physical injury to tangible property, including all resulting loss of use of
such property or loss of use of tangible property that is not physically injured.

M. Retroactive Date means the date listed in Item 6. of the Declarations.
N. Subsidiary means:

1. Acorporation or other entity of which the named entity owns on or before the inception of the
policy period more than 50% of the issued and outstanding voting stock either directly, or indirectly
through one or more of its subsidiaries or the right to elect, appoint or designate more than 50% of
such entity's board of directors, trustees, or managers and which is set forth in the application or, if
the entity is a limited partnership, the named entity or one of its subsidiaries must serve as the

general partner.

A corporation or other entity which becomes a subsidiary during the policy period and whose
revenues total less than 15% of the total consolidated revenues of the named entity as disclosed
by you on the most recently completed application as of the inception date of this policy period.

2. A corporation or other entity, which becomes a subsidiary during the policy period other than a
corporation or other entity described in Paragraph 1. above, but only upon the condition that within
90 days of its becoming a subsidiary, the named entity shall have provided us with a completed
application and all materials requested by us and agreed to any additional premium and/or
amendment of the provisions of this policy required by us relating to the addition of such new
subsidiary. Further, coverage as shall be afforded to the new subsidiary is conditioned upon the
named entity paying when due any additional premium required by us relating to such new
subsidiary. Failure to provide the requested information within the 90 days or failure to pay the
additional premium when requested will result in the denial of coverage to said subsidiary under
this policy.

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A corporation or other entity becomes a subsidiary when the named entity owns more than
50% of the issued and outstanding voting stock, either directly or indirectly through one or more of
its subsidiaries or serves as a general partner for a limited partnership. A corporation
ceases to be a subsidiary when the named entity ceases to own more than 50% of the issued and
outstanding voting stock, either directly or indirectly through one or more of its subsidiaries or is
removed or ceases to act as general partner of a limited partnership. Coverage for claims made
against any subsidiary or the insureds of any subsidiary shall only apply to wrongful acts of
such subsidiary or the insureds of such subsidiary occurring after the effective time that such
subsidiary became a subsidiary and prior to the time that such subsidiary ceased to be a
subsidiary.

O. We, us, our means the insurance company shown in the Declarations (a stock insurance
company).

P. Wrongful Act means a negligent act, error, or omission committed or alleged to have been
committed by you or any person for whom you are legally responsible in the rendering of
professional services. Wrongful Act shall include personal injury arising out of the rendering
of professional services.

Q. You, your, insured means:
1. The named entity.
2. Any subsidiary.

3. Any independent contractor while acting on your behalf but solely as respects the provision of
professional services.

4. Any individual insured.

Ill. EXCLUSIONS
THIS POLICY DOES NOT APPLY TO ANY CLAIM OR CLAIM EXPENSES:

A. arising out of, resulting from, based upon or in consequence of, any dishonest, fraudulent, criminal or
malicious act, error or omission, or any intentional or knowing violation of the law, or gaining of any
profit or advantage to which you are not legally entitled; however, we will defend suits alleging the
foregoing until there is a judgment, final adjudication, adverse admission, plea nolo contendere or no
contest or finding of fact against you as to such conduct.

B. for bodily injury or property damage.

C. arising out of any costs of corrections, costs of complying with non-pecuniary relief, fines or penalties
imposed by law or other matters which may be deemed uninsurable under the law pursuant to which
this policy may be construed.

D. arising out of any Disciplinary Proceeding against any insured, however, we will defend you for said
Disciplinary Proceeding up to a sublimit of liability (“Disciplinary Proceeding Sublimit”) of ten thousand
dollars ($10,000). The Disciplinary Proceeding Sublimit shall be part of, not in addition to, the Limits
of Liability as shown in Item 4. of the Declarations and shall no way serve to increase the Limits of
Liability. Defense for disciplinary proceedings will still be subject to all other terms and provisions in
this policy.

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E. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any failure to
effect or maintain any insurance or bond.

F. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any infringement
of copyright, patent, trademark service mark, trade name, or misappropriation of ideas or trade
secrets.

G. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any violation of
the Securities Exchange Act of 1933 as amended, the Securities Exchange Act of 1934 as amended,
any state Blue Sky or Securities Law or any rules, regulations or amendments issued in relation to
such acts, or any similar state, federal or foreign statutes or regulations.

H. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any express
warranties or guarantees or any liability you assume under contract unless you would have been
legally liable in the absence of such contract.

1. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any claim
brought by any insured against another insured. ,

J. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any pending or
prior litigation as of the continuity date of this policy, as well as all future claims or litigation based on
the pending or prior litigation derived from the same or essentially the same facts (actual or alleged)
that gave rise to the prior or pending litigation.

K. alleging, arising out of, resulting from, based upon or in consequence of, directly or indirectly, any
employment practices or any discrimination against any person or entity on any basis, including but
not limited to: race, creed, color, religion, ethnic background, national origin, age, handicap, disability,
sex, sexual orientation or pregnancy.

L. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any discharge,
dispersal, release or escape of any solid, liquid, gaseous, biological, radiological or thermal irritant or
contaminant, including smoke, vapor, dust, fibers, spores, fungi, germs, soot, fumes, asbestos, acids,
alkalis, chemicals and waste (including, but not limited to, materials to be recycled, reconditioned or
reclaimed and nuclear materials) into or upon land, the atmosphere or any water-course or body of
water or any cost or expense arising out of any direction, request or voluntary action to test for,
monitor, clean up, remove, contain, treat, detoxify or neutralize any pollutants.

M. _ arising out of, resulting from, based upon or in consequence of, directly or indirectly, any services as
an attorney, accountant, actuary, tax preparer, tax consultant, real estate broker, securities broker,
securities dealer, registered representative of a securities broker or dealer, financial planner, nurse,
doctor of medicine, veterinary medicine or dentistry, architect or engineer.

N. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any professional
services performed for any entity in which any insured is a principal, partner, officer, director or
owns or controls more than three percent (3%) of the issued and outstanding stock of such entity.

O. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any disputes
involving your fees or charges.

P. arising out of, resulting from, based upon or in consequence of, directly or indirectly, any wrongful
act committed prior to the policy period and subsequent to the retroactive date for which you gave
notice under any prior insurance policy or which you had any basis to believe might reasonably be
expected to give rise to a claim under this Policy

No wrongful act of any individual insured nor any fact pertaining to any individual insured shall be

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imputed to any other partner, director, officer or employee for the purposes of determining the
applicability of Exclusion A above.

IV. LIMITS OF LIABILITY

Regardless of the number of (a) insureds under this policy, (b) persons or entities who allege
damages or (c) claims made or suits brought, our liability is limited as follows:

A. We shall be liable to pay that portion of any damages and claim expenses in excess of the
applicable Deductible as stated in the Declarations for any one claim up to the Limits of Liability as
stated in Item 4. of the Declarations. A Deductible shall apply to each and every claim, including
claim expenses, and such Deductible shall be borne by you. The Deductible shall be uninsured
and be at your own risk.

B. Our maximum aggregate liability for all damages and claim expenses arising out of all claims
made during the policy period shall be the Limit of Liability stated in the Declarations. The Limit of
Liability during any Extended Reporting Period added to this policy shall be the remaining portion, if
any, of the aggregate Limit of Liability provided by this policy as stated in Item 4. of the Declarations.

C. Claims based on or arising out of the same act or circumstance, or a series of similar or related
acts or circumstances shall be considered a single claim and shall be considered first made
during the policy period or the Extended Reporting Period (if applicable), of the policy in which
the earliest claim arising out of such act(s) or circumstance(s) was first made and all damages
and claim expenses shall be subject to the same Each Claim Limit of Liability.

V. GENERAL CONDITIONS
A. Policy Territory:
This policy shall extend to any wrongful act committed anywhere in the world.

All premiums, limits, retentions, damages, claim expenses and other amounts under this policy are
expressed and payable in the currency of the United States of America. If judgment is rendered,
settlement is denominated or another element of damages or claims expenses under this policy is
stated in a currency other than United States dollars, payment under this policy shall be made in United
States dollars at the rate of exchange published in The Wall Street Journal on the date the final
judgment is reached, the amount of the settlement is agreed upon or the other element of damages or
claims expenses is due, respectively.

B. Notice and Claim Reporting Provisions:

Notice hereunder shall be given by you or on your behalf in writing to us at One Bala Plaza, Suite 100,
Bala Cynwyd, PA 19004 Attn: Claims Department.

4. You shall, as a condition precedent to our obligations under this policy, give written notice to us as
soon as practicable during the policy period, or during the Extended Reporting Period (if any) of any
claim made against you.

2. If during the policy period, or during the Extended Reporting Period (if any), but not during the
Automatic Extension, you shall become aware of any circumstance which could reasonably be
expected to give rise to a claim, you shall give written notice to us regarding all particulars of said
incident as soon as practicable after you become aware of said circumstance. Such written notice of
any circumstance must include:

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a. the specific wrongful act; and
b. the damages which have or may result from such wrongful act; and
c. the circumstances by which you first became aware of such wrongful act.

Any claim then arising out of such wrongful act will be considered to have been first made at
the time of the original notice.

C. Extended Reporting Period:

1. If we or you cancel or refuse to renew this policy for reasons other than non-payment of
premium, we will provide to you a 60 day Automatic Extension of the coverage granted by this
policy, at no additional charge, for any claim first made against you and reported to us during the
60 day extension period but only as respects wrongful acts committed after the Retroactive Date
(if any) stated in the Declarations and prior to the date of cancellation or non-renewal. In the event
you purchase replacement coverage for this policy or a Supplemental Extended Reporting Period
under 2. below, said 60 day Automatic Extension period will terminate upon the effective date of
said replacement coverage or Extended Reporting Period.

2. \fwe or you cancel or refuse to renew this policy for reasons other than non-payment of premium,
you shall have the right to purchase, for the appropriate additional payment as listed in Item 8. of
the Declarations, a Supplemental Extended Reporting Period of a duration and for a premium as
described on the Declarations. This extension will provide coverage granted by this policy for any
claim first made against you and reported to us during the Supplemental Extended Reporting
Period. This Supplemental Extended Reporting Period only applies to wrongful acts committed
after the Retroactive Date (if any) stated in the Declarations and prior to the date of cancellation
or non-renewal. You must apply for this extension in writing accompanied by payment of the
appropriate premium prior to the expiration of the GO day Automatic Extension period under 1.
above.

3. All premium paid with respect to an extension period shall be deemed to be fully earned as of the
first day of the extension period. For the purpose of this clause, any change in premium, retention,
Limits of Liability or other terms on renewal! shall not constitute a refusal to renew.

4. Limits of Liability available during any Extended Reporting Period shall not exceed the balance of
the Limits of Liability in effect at the time the policy terminated.

5. In the event similar insurance is in force covering any claims first made during the 60 day
extension period or during any Extended Reporting Period, coverage provided by this policy shall
be excess over any such other insurance

D. Deductible:
It is your responsibility to pay the Deductible amount as stated in Item 5. of the
Declarations as the result of each claim. We may pay part of or all of the Deductible amount to

effect a settlement of any claim, however, upon notification of any such action taken, you shall
promptly reimburse us for all of the Deductible amount as has been paid by us.

E. Your Duties in the Event of a Claim:
4. Pursuant to B. Notice and Claim Reporting Provisions, Paragraph 1. above, you shall give

written notice containing particulars sufficient to identify the insured, time, place and underlying
circumstances of the claim to us.

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2. You shall admit no liability, make no payments, assume no obligation and incur no expense
related to such claim without our written consent.

3. When a claim is made against you, you shall immediately forward to us every demand,
notice, summons, or other process received by you or your representatives.

4. You shall cooperate with us and, upon our request, assist in making settlements and in the
conduct of suits. You shall attend hearings, trials and depositions and shall assist in
securing and giving evidence and in obtaining the attendance of witnesses.

5. You shall not demand or agree to arbitration of any claim without our written consent. Such
consent shall not be unreasonably withheld.

F. Subrogation:

If we pay any amount hereunder as damages, claim expenses or any combination thereof, we
shall be subrogated to your rights of recovery against any person, firm or organization. You shall
execute and deliver instruments and papers and do whatever is necessary to secure such rights.
You shall not waive or prejudice such rights prior to or subsequent to any claim.

G. Changes:

Notwithstanding anything to the contrary, no provision of this policy may be amended,
waived or otherwise changed except by endorsement issued by us to form part of this policy.

H. Action Against Us:

4. No action shall lie against us unless, as a condition precedent thereto, there shall have been
compliance with all terms of this policy, and until the amount of your obligation to pay shall have
been finally determined either by judgment entered in a court of law against you or by your
written agreement with the claimant or claimant's legal representative and us.

2. Any person or the legal representatives thereof who has secured such a judgment or written
agreement shall thereafter be entitled to recover under this policy to the extent of the
insurance afforded by this policy. No person or entity shall have any right under this policy to
join us as a party to any action against you to determine your liability, nor shall we be
impeded by you or their legal representatives. Your bankruptcy or insolvency or that of your
successors in interest shall not relieve us of our obligations hereunder.

I. Change in Control:
lf during the policy period:

4. the named entity merges into or consolidates with another entity such that the named
entity is not the surviving entity; or

2. another entity, person, or group of entities and/or persons acting in concert acquires
securities or voting rights which result in ownership or voting control by other entity(ies) or
person(s) of more than fifty percent (50%) of the outstanding securities representing the rights to
vote for the election of the named entity’s directors;

(either of the above events hereinafter referred to as the “Transaction”) then coverage shall continue
until the later of the termination of the policy period or such other date to which we may agree, but
only with respect to wrongful acts which occurred prior to the Transaction and are otherwise covered
by this policy and premium shal! be considered fully earned.

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J. Cancellation or Non-Renewal:

1. This policy may be canceled by the named entity by surrender thereof and selection of a
future date to us at the address stated in the Declarations or by mailing to us written notice
stating when thereafter such cancellation shall be effective. If this policy is canceled by you,
we shall retain the customary short-rate portion of the premium.

2. The policy may be canceled by us by mailing to the named entity at the address stated in the
Declarations written notice stating when, not less than forty-five (45) days thereafter or ten
(10) days in the case of cancellation for non-payment of premium or Deductible, such
cancellation shall become effective. If the policy is canceled by us, earned premium shall be
computed pro-rata.

3. In the event we refuse to renew this policy, we shall mail to the named entity, at the address
stated in the Declarations, not less than forty-five (45) days prior to the expiration of this
policy, written notice of non-renewal. Such notice shall be conclusive on all insureds.

4. The mailing of Notice of Cancellation or Non-Renewal as aforementioned shall be sufficient
notice of the intent to cancel or non-renew. The effective date of cancellation or non-renewal
specified in the notice shall terminate this policy period.

K. Conformity to Statutes:

Terms of this policy which are in conflict with the statutes of the state wherein this policy is
issued are hereby amended to conform to such statutes.

L. Assignment:

Assignment of interest under this policy shall not bind us unless our consent is endorsed hereon.

M. Authorization Clause:

By acceptance of this policy, you agree that the statements in the application are your agreements
and representations and that this policy is issued in reliance upon the truth of such
representations. This policy embodies all existing agreements between you and us relating to this
insurance.

N. Other Insurance:

This insurance is excess over any other valid and collectable insurance available to you except as
respects such insurance written to apply specifically in excess of this insurance.

O. Liability Coverage Disputed and Reservation of Rights:

If a controversy or dispute arises with regard to whether coverage exists with respect to a claim
submitted by you under the coverage sections of this policy, we may elect to provide a defense
under a Reservation of Rights whereby we reserve our rights to deny and reject any claim for
damages. In the event it is finally established by judgment or agreement that we have no liability
with respect to such a claim, you shall reimburse us upon demand all sums and monies paid by
us to defend and/or settle such claim.

P. False or Fraudulent Claims:

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PI-PLSP-002 (08/07)

If any insured shall commit fraud in presenting any claim as regards amounts or otherwise, this
insurance shall become void as to such insured from the date such fraudulent claim is presented.

Q. Headings
The descriptions in the headings of this policy and any endorsements attached hereto are solely for
convenience, and form no part of the terms and conditions of coverage.

IN WITNESS WHEREOF, WE HAVE CAUSED THIS POLICY TO BE SIGNED BY OUR PRESIDENT AND
SECRETARY. THIS POLICY SHALL NOT BE VALID UNLESS COUNTERSIGNED ON THE

DECLARATIONS PAGE BY OUR DULY AUTHORIZED REPRESENTATIVE.

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PI-PLSP-010 (08/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

NUCLEAR ENERGY LIABILITY EXCLUSION

This endorsement modifies insurance provided under the following:

COVER-PRO™

In consideration of the premium paid, it is agreed that this policy does not apply to any claim arising out
of, resulting from, based upon or in consequence of, directly or indirectly, any bodily injury or property
damage resulting from radioactive, toxic or explosive properties of nuclear material which includes, but is
not limited to, "source material", "special nuclear material" and "by product material" as those terms are
defined in the Atomic Energy Act of 1954 and any amendments thereto and any similar provisions of any
federal, state or local statutory or common law.

All other terms and conditions of this policy remain unchanged.

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PI-PLSP-102 (08/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

BANKRUPTCY/INSOLVENCY EXCLUSION

This endorsement modifies insurance provided under the following:

COVER-PRO™

In consideration of the premium paid, it is agreed that this policy does not apply to any claim arising out
of, based upon, or attributable to:

1. the bankruptcy, insolvency or financial failure of the Insured; or

2. the Insured’s seeking protection under federal bankruptcy laws (or any similar laws); or

3. the bankruptcy, insolvency or financial failure of any entity with whom the Insured transacts
business.

All other terms and conditions of this policy remain unchanged.

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PI-PLSP-145 (08/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

COMPUTER/TECHNOLOGY CONSULTANT PRO PAK ELITE

This endorsement modifies and is subject to the insurance provided under the following:

COVER-PRO™

This policy is amended as follows:

A. COVERED SERVICES

The term Computer Consultant or Technology Consultant as stated in Item 9. of the
Declarations is defined as follows:

Computer Consultant and Technology Consultant both mean an individual or firm retained by a
third party for the purpose of:

1.

3.

A.

analysis of operating problems and client needs associated with computer hardware
and software;

creation, recommendation, installation and/or implementation of computer hardware
and software;

customization of, servicing of and monitoring of computer hardware and software; and

training of personnel in the utilization of computer hardware and software.

Unauthorized access means a third party's access to a computer, computer system, or computer
network, with authorization or exceeding authorization.

B. DEFENSE COSTS IN ADDITION TO THE LIMIT

Section IV. LIMITS OF LIABILITY, is deleted and replaced with the following:

Regardless of the number of (a) insureds under this policy, (b) persons or entities who
allege damages or (c) claims made or suits brought, our liability is limited as follows:

1.

We shall be liable to pay that portion of any damages in excess of the applicable Deductible as
stated in the Declarations for any one claim up to the Limits of Liability as stated in Item 4. of
the Declarations. A Deductible shall apply to each and every claim, including claim expenses,
and such Deductible shall be borne by you. The Deductible shall be uninsured and be at your
own risk.

Our maximum aggregate liability for all damages arising out of all claims made and reported
during the policy period shall be the Limit of Liability stated in the Declarations as

Aggregate. The Limit of Liability during any Extended Reporting Period added to this policy
shall be the remaining portion, if any, of the Aggregate Limit of Liability provided by this _ policy
as stated in Item 4. of the Declarations.

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PI-PLSP-145 (08/07)

Claims based on or arising out of the same act or circumstance, or a series of similar or related
acts or circumstances shall be considered a single claim and shall be considered first made
during the policy period or the Extended Reporting Period (if applicable), of the policy in which
the earliest claim arising out of such act(s) or circumstance(s) was first made and all damages
shall be subject to the same Each Claim Limit of Liability.

Payment by us of claim expenses incurred with any claim, shall not serve to reduce the Limit
of Liability stated in Item 4. of the Declarations.

C. ADDITIONAL EXCLUSIONS

Section Ill. EXCLUSIONS, is amended to include the following:

14. THIS POLICY ALSO DOES NOT APPLY TO ANY CLAIM OR CLAIM EXPENSES ARISING

OUT OF:

R. Any mechanical or electrical failure, including any power interruption, surge, brownout or
blackout;

S. The failure to prevent unauthorized access to, or use of an electronic system or computer
program, unless such unauthorized access or use is a result of your wrongful act;

T. Any claim arising out of the failure of any real, personal or intangible property to have at any
point or points in time any guaranteed economic value.

U. Any claim arising out of the transfer of funds, monies, or securities to or from any account or
institution or guaranteeing of the availability of funds; or

V. Any claim based upon or arising out of incorrect description of any article or commodity or
any mistake in advertised price or any false, misleading, deceptive or fradulent advertising.

W. Any wrongful act committed with the knowledge that it was a wrongful act.

X. Any claim arising out of or connected with the performance or failure to perform services for
any person or entity:

(1) which is owned by or controlled by any insured; or

(2) which owns or controls any insured; or

(3) which is affiliated with any insured through any common ownership or control; or,
(4) in which any insured is a director, officer, partner or principal stockholder.

2. THIS POLICY ALSO DOES NOT APPLY TO ANY CLAIM OR CLAIM EXPENSES FOR:

A. Any sale or defect of any non-customized commercially available computer software or
hardware products.

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PI-PLSP-176 (08/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ADDITIONAL PREMIUM FOR SUPPLEMENTAL EXTENDED

REPORTING PERIOD

This endorsement modifies and is subject to the insurance provided under the following:

COVER-PRO*”

The Declarations are amended as follows:

ltem 8. Is deleted in its entirety and replaced with the following:

Item 8. The Additional Premium for Supplemental Extended Reporting Period shall be as follows:
12 months: 75% of Annual Premium
24 months: 125% of Annual Premium
36 months: 150% of Annual Premium
48 months: 175% of Annual Premium
60 months: 200% of Annual Premium
Unlimited: 285% of Annual Premium

All other terms and conditions of this policy remain unchanged.

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PI-ARB-1 MO (3/05)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY..

BINDING ARBITRATION

Wherever, used in this endorsement: 1) “we”, “us”, “our”, and “insurer mean the insurance company
which issued this policy; and 2) “you”, “your’, “named insured”, “first named insured”, and “insured” mean
the Named Corporation, the Named Organization, Named Sponsor, Named Insured, or Insured stated in
the declarations page; and 3) “other insured(s)” means all other persons or entities afforded coverage
under this policy.

This endorsement modifies coverage provided under the Coverage Part to which it is attached.

If we and the insured do not agree whether coverage is provided under this Coverage Part for a claim made
against the insured, both parties may, by mutual consent, agree in writing to arbitration of the disagreement.

If both parties agree to arbitrate, each party will select an arbitrator. The two arbitrators will select a third. If they
cannot agree within 30 days, both parties must request that selection be made by a judge of a court having
jurisdiction. Each party will:

1, Pay the expenses it incurs; and
2. Bear the expenses of the third arbitrator equally.

Unless both parties agree otherwise, arbitration will take place in the county or parish in which the address
shown in the Declarations is located. Local rules of law as to procedure and evidence will apply. A decision
agreed to by two of the arbitrators will be binding.

All other terms of the policy remain unchanged.

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PI-DEF-NOTICE-MO

DISCLOSURE NOTICE

DEFENSE WITHIN LIMITS

| UNDERSTAND AND ACKNOWLEDGE THAT THE ATTACHED POLICY CONTAINS A
DEFENSE WITHIN LIMITS PROVISION WHICH MEANS THAT THE DEFENSE COSTS WILL
REDUCE OUR LIMITS OF INSURANCE AND MAY EXHAUST THEM COMPLETELY. SHOULD
THAT OCCUR, WE SHALL BE LIABLE FOR ANY FURTHER LEGAL DEFENSE COSTS AND

DAMAGES.

Signature
(President, Chairman or Executive Director)

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Pl-Notice-MO (4-01)

IMPORTANT NOTICE

To obtain information or make a complaint:

1, You may call Philadelphia Indemnity Insurance Company's toll-free telephone number for
information or to make a complaint at

1-877-438-7459
2 You may write to Philadelphia Indemnity Insurance Company at our principal place of business:
Philadelphia Indemnity Insurance Company
One Bala Plaza, Suite 100
Bala Cynwyd, PA 19004
(610) 617-7900
FAX # (610) 617-7940
3. ATTACH THIS NOTICE TO YOUR POLICY:

This notice is for information only and does not become a part or condition of the attached
document.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

MISSOURI AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:
COVER-PRO*™

Section V. GENERAL CONDITIONS, Paragraph J. Cancellation or Non-Renewal, is deleted and
replaced with the following:

J. Cancellation or Non-Renewal:

1. This policy may be canceled by the named entity by surrender thereof and selection of a
future date to us at our address stated in the Declarations or by mailing to us written notice
stating when thereafter such cancellation shall be effective. If this policy is canceled by you, we
shall retain the customary short-rate portion of the premium.

2. The policy may be canceled by us by mailing to you at the address stated in the Declarations
advance written notice. Notice shall be given at least:

a. Ten (10) days before the effective date of cancellation, if we cancel for nonpayment
of premium or Deductible;

b. Forty-five (45) days before the effective date of cancellation, if we cancel for: fraud
or material misrepresentation affecting the policy or in the presentation of a claim
under the policy; a violation of any of the terms or conditions of the policy; any
changes in conditions after the effective date of the policy which have materially

increased the hazards originally insured; insolvency of the insurer, or involuntary loss
of reinsurance for the policy,

Cc. Sixty (60) days before the effective date of cancellation, if we cancel for any other
reason.

If the policy is canceled by us, earned premium shall be computed pro-rata.

3. Inthe event we refuse to renew this policy, we shall mail to the named entity, at the address
stated in the Declarations, not less than sixty (60) days prior to the expiration of this policy,
written notice of non-renewal. Such notice shall be conclusive on all insureds.

4. The mailing of Notice of Cancellation or Non-Renewal as aforementioned shall be sufficient
notice of the intent to cancel or non-renew. The effective date of cancellation or non-renewal
specified in the notice shall terminate this policy period. Delivery of such notice shall be
equivalent to mailing. The Notice of Cancellation or Non-Renewal shall state the reasons for
cancellation or non-renewal.

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